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                                EXHIBIT Q –

        WU 2-23-23 Answers to Plaintiff’s Second Supplemental
                         Interrogatories
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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 JEFFERY WEISMAN, and                               )
 STRATEGIC BIOMEDICAL, INC.                         )
                                                    )
        Plaintiffs,                                 )
                                                    )
 v.                                                 )   Case No. 4:19-cv-00075-JAR
                                                    )
 BARNES JEWISH-HOSPITAL,                            )
 BJC HEALTHCARE, WASHINGTON                         )
 UNIVERSITY, DR. ALEX EVERS,                        )
 DR. RICHARD BENZINGER, and                         )
 DR. THOMAS COX,                                    )
                                                    )
        Defendants.                                 )

           DEFENDANT WASHINGTON UNIVERSITY’S ANSWERS AND
                  OBJECTIONS TO PLAINTIFF’S SECOND
       SUPPLEMENTAL INTERROGATORIES TO WASHINGTON UNIVERSITY

        For its Answers and Objections to Plaintiff’s Second Supplemental Interrogatories to

 Washington University, defendant Washington University (“University”) states as follows:

                                       GENERAL OBJECTIONS

        1.        The University objects to these interrogatories and the instructions and definitions

 to these interrogatories to the extent they seek to impose obligations and requirements beyond

 these contained in the Federal Rules of Civil Procedure.

        2.        The University reserves the right to supplement, amend, or correct these

 responses if additional pertinent information or documentation is located during discovery and

 investigation.
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                ANSWERS AND OBJECTIONS TO INTERROGATORIES

       1.     State the full name, employer, job title, of the person signing these interrogatories.

       ANSWER: Leanne Stewart, Director, Employee Relations, Washington University.

       2.      State the factual bases of your claim for compensatory damages on your
 Counterclaim.

       ANSWER: The University states that the following expenditures were or will be
       incurred: (a) attorneys’ fees and costs relating to the investigation and prosecution of the
       counterclaim through October 31, 2022, can be found in the redacted invoices served
       herewith, which continue to accrue and which will be supplemented; (b) costs in the
       amount of $179.37 relating to verification that Plaintiff did not delete any of emails he
       searched for and accessed without authorization; and (c) Dr. Benzinger’s time in
       reviewing and investigating Plaintiff’s unauthorized access.

       The University states that the factual bases for its compensatory damages on the
       Counterclaim are:

       (a)     Upon the discovery that Weisman knowingly and without authorization or
       reasonable grounds to believe he had such authorization accessed and searched Dr.
       Benzinger’s University e-mail account and took, received, retained, examined, used, and
       disclosed documents and information about other persons residing or existing in the
       University’s computer systems and networks, Dr. Benzinger spent approximately three
       hours investigating and verifying Weisman’s access and search of the account, including:
       (1) reviewing certain photographs of emails that Weisman had taken during his
       unauthorized access and search and comparing them to his email account; (2) reviewing
       the photographs of emails that Weisman had taken during his unauthorized access to
       determine that the computer used for the access and search was located in a Barnes
       Jewish Hospital operating room; (3) and reviewing the clinical schedules to determine
       when he and Weisman worked together to determine the date of the unauthorized access
       and search.

       (b)     Michelle Sutton, a University employee, spent 4.5 hours verifying that Dr.
       Benzinger’s University e-mail account or data was not altered, damaged, or deleted by
       Weisman’s authorized access and search. Ms. Sutton reviewed each of the photographs
       of e-mails that Weisman had taken during his unauthorized access and verified that those
       e-mails and data had not been deleted from Dr. Benzinger’s University e-mail account.
       The cost of this verification was $179.37, which is calculated by taking Ms. Sutton’s
       hourly rate of $39.86 and multiplying it by the 4.5 hours she spent on the verification and
       investigation.

       (c)     The University has incurred attorneys’ fees and costs relating to the investigation
       and prosecution of the counterclaim, which amounts are found in the redacted invoices
       that have been produced and which continue to accrue.

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                                           VERIFICATION

         Leanne Stewart, Director, Employee Relations of The Washington University, of lawful
 age, being duly sworn on her oath, states that she is authorized to execute these Answers and
 Objections to Interrogatories on behalf of The Washington University; that she has read them;
 and that they are true and correct to the best of her knowledge, information, and belief based
 upon the investigation conducted by those who gathered the information to respond to these
 Interrogatories.


                                                    ___________________________________
                                                    Leanne Stewart
                                                    Director, Employee Relations




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                                             SHANDS, ELBERT, GIANOULAKIS & GILJUM,
                                             LLP

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                                             ksullivan@shandselbert.com

                                             Attorneys for Washington University defendants



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 3rd day of February, 2023, the foregoing
 was e-mailed to Edward R. Moor, Moor Law Office, P.C., One N. LaSalle St., Suite 600,
 Chicago, IL 60602, attorneys for plaintiff; and Michael Nolan, Theresa Mullineaux and Blake
 Armstrong, Husch Blackwell, LLP, 190 Carondelet Plaza, Suite 600, St. Louis, MO 63105,
 attorneys for Barnes-Jewish Hospital defendants.

                                             /s/ Kevin Anthony Sullivan




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